      Case 8:94-cr-00454-PJM          Document 1296          Filed 05/06/11     Page 1 of 5



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                      *
                                              *
v.                                            *
                                              *         Crim. No.:   PJM 94-0454
BERNARD GIBSON, JR.                           *
                                              *
       Defendant                              *

                                  MEMORANDUM OPINION

       Defendant Bernard Gibson, Jr. has filed a Motion for Reduction of Sentence Under 18

U.S.C. § 3582(c)(2) [Paper No. 1283], in which he requests a reduction of his sentence pursuant

to the adoption of Amendment 706 to the Sentencing Guidelines, which lowered the base offense

levels for certain crack cocaine offenses. For the reasons that follow, the Court will DENY

Gibson’s Motion.

                                                  I.

       In 1994, Gibson and numerous co-conspirators were indicted following a lengthy

investigation by the FBI into a drug distribution enterprise headed by Gibson’s father. On

October 4, 1996, a jury found Gibson and two of his co-conspirators guilty of conspiring to

distribute and possess with intent to distribute heroin and cocaine, in violation of 21 U.S.C. §§

841(a)(1) and 846.

       On March 24, 1997, during Gibson’s sentencing hearing, the Court found that the drug

quantities associated with Gibson’s crime were as follows: 10 kilograms of powder cocaine

(equivalent to 2,000 kilograms of marijuana) and one kilogram of heroin (equivalent to 1,000




                                                  -1-
       Case 8:94-cr-00454-PJM               Document 1296            Filed 05/06/11         Page 2 of 5



kilograms of marijuana).1 The Court used the resulting total—the equivalent of 3,000 kilograms

of marijuana—to arrive at a base offense level of 34 under the Sentencing Guidelines. See U.S.

Sentencing Guidelines Manual § 2D1.1(c)(3) (2010) (assigning a base offense level of 34 to

federal drug crimes involving the equivalent of between 3,000 and 10,000 kilograms of

marijuana). The Court then applied certain adjustments to Gibson’s score—specifically, an

increase of two points for possession of a dangerous weapon, an increase of three points for

Gibson’s role as a manager or supervisor in the conspiracy, and an increase of two points for

obstruction of justice—and arrived at an adjusted offense level of 41. Ultimately, the Court

sentenced Gibson to 324 months of incarceration—a term of imprisonment at the very bottom of

the Sentencing Guidelines range for an offender with a criminal history category of I and an

adjusted offense level of 41. The Fourth Circuit subsequently affirmed Gibson’s conviction and

sentence on appeal. See United States v. Ward, 171 F.3d 188, 195 (4th Cir. 1999).

        On January 3, 2011, Gibson filed the instant Motion for Reduction of Sentence Under 18

U.S.C. § 3582(c)(2), in which he argues that his “sentence was based on his involvement with

crack cocaine,” and that he is therefore eligible to seek a reduced sentence pursuant to the

Sentencing Commission’s retroactive lowering of the base offense levels for certain crack

cocaine offenses. On January 4, 2011, the Court issued an Order [Paper No. 1284] directing the

Federal Public Defender to review Gibson’s Motion and provide the Court with a status report on

the same within 90 days.




1
 Then, as now, the Sentencing Guidelines established a 1:200 ratio for converting powder cocaine into its marijuana
equivalent, and a 1:1,000 ratio for converting heroin into its marijuana equivalent. See U.S. Sentencing Guidelines
Manual § 2D1.1 cmt. n.10(E) (2010).



                                                        -2-
        Case 8:94-cr-00454-PJM               Document 1296            Filed 05/06/11         Page 3 of 5



        Not long after the Court issued its Order of January 4, U.S. Probation and Pretrial

Services provided the Court with a memorandum offering the following assessment of Gibson’s

Motion:


        Based on the . . . eligibility criteria, it has been determined that this defendant is
        not eligible to seek a reduced sentence based upon retroactive application of the
        amendments. The offense did not involve crack cocaine/cocaine base. The
        Sentencing Guidelines in this case were calculated based on a quantity of heroin
        combined with a quantity of powder cocaine.

Finally, on February 9, 2011, the Federal Public Defender filed its status report, in which counsel

indicated that she had reviewed Probation’s memorandum and had “no further information to

provide the Court regarding Mr. Gibson’s eligibility for a sentence reduction under Amendment

706.”

                                                        II.

        On May 1, 2007, the Sentencing Commission promulgated Amendment 706 to the

Sentencing Guidelines. That Amendment, addressing crack cocaine-related drug offenses,

reduced by two levels the base offense level assigned to each threshold quantity of crack listed in

the Guidelines’ Drug Quantity Table. See U.S. Sentencing Guidelines Manual Supp. to App. C,

Amend. 706 (2010).2 Thereafter, the Commission made Amendment 706 retroactive, effective

March 3, 2008. See U.S. Sentencing Guidelines Manual Supp. to App. C, Amend. 713 (2010).

        Pursuant to 18 U.S.C. § 3582(c), “a defendant who has been sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing

Commission” may file a motion asking the Court to reduce his sentence. 18 U.S.C. § 3582(c)(2).


2
 Prior to Amendment 706, there was a 100-to-1 disparity between crack and powder cocaine offenses, resulting in
sentences for crack offenses three to six times longer than for cocaine offenses involving equal amounts of drugs.
Amendment 706 sought to remedy this disparity by lowering the 100:1 ratio. United States v. Munn, 595 F.3d 183,
186 n.5 (4th Cir. 2010).



                                                        -3-
       Case 8:94-cr-00454-PJM                Document 1296            Filed 05/06/11         Page 4 of 5



Upon consideration of such a motion, the Court may reduce the defendant’s term of

imprisonment “after considering the factors set forth in [18 U.S.C. § 3553(a)] to the extent that

they are applicable, if such a reduction is consistent with applicable policy statements issued by

the Sentencing Commission.” 18 U.S.C. § 3582(c)(2).

        Thus, the Sentencing Commission’s retroactive application of Amendment 706,

combined with the statutory authority granted in 18 U.S.C. § 3582(c)(2), permits a court to

reduce a crack cocaine sentence issued prior to the Amendment, provided the Court gives ample

consideration to the § 3553(a) sentencing factors and the policy statements issued by the

Sentencing Commission in support of the Amendment. That said, it virtually goes without saying

that Amendment 706 will not apply, and that a § 3582(c)(2) motion brought pursuant to the

Amendment will not succeed, where the defendant’s sentence was not in fact calculated based on

some quantity of crack cocaine.

                                                        III.

        As Probation noted in its memorandum assessing Gibson’s Motion, and as the Federal

Public Defender implicitly concedes, Gibson’s Sentencing Guidelines range was “calculated

based on a quantity of heroin combined with a quantity of powder cocaine” (emphasis added),

and not based on some quantity of crack cocaine. This fact is plainly apparent not only in

Gibson’s Presentence Report, which computed Gibson’s offense level by applying the marijuana

equivalency ratios for powder cocaine, but also in the transcript of Gibson’s sentencing hearing,

which demonstrates that the Court’s own calculation of Gibson’s sentencing range was based

upon its finding that Gibson’s crime involved 10 kilograms of powder cocaine and one kilogram

of heroin.3


3
 In his Motion, Gibson appears to suggest that, because the Government presented evidence at trial that Gibson had,
at times, trafficked in crack cocaine, his sentence was necessarily based upon quantities of crack cocaine. As noted


                                                        -4-
       Case 8:94-cr-00454-PJM              Document 1296            Filed 05/06/11        Page 5 of 5



        As noted supra, the purpose of Amendment 706 was to remedy the significant disparity

between sentences handed down for crack cocaine offenses and those handed down for powder

cocaine offenses. Here, where Gibson’s sentence was not in fact based upon any quantity of

crack cocaine, Amendment 706 has no application, and Gibson’s effort to invoke it has no merit.

Accordingly, the Court is constrained to deny Gibson’s Motion.

                                                      IV.

        For the foregoing reasons, Gibson’s Motion for Reduction of Sentence Under 18 U.S.C. §

3582(c)(2) [Paper No. 1283] is DENIED.

        A separate Order will ISSUE.



                                                              /s/________________
                                                       PETER J. MESSITTE
                                                 UNITED STATES DISTRICT JUDGE
        May 6, 2011




supra, however, the transcript of Gibson’s sentencing hearing plainly demonstrates that the Court’s Sentencing
Guidelines calculation—and the sentence the Court ultimately imposed—was based solely on its findings regarding
quantities of heroin and powder cocaine. The fact that the Government might have presented evidence at trial that
Gibson was involved with crack cocaine is of no moment where the Court did not rely on such evidence in imposing
sentence. See United States v. Reid, 352 F. App’x 135, 137 (8th Cir. 2009) (“[T]he powder/crack cocaine penalty
disparity has no bearing here because [the defendant] was sentenced based on the amount of powder cocaine for
which he was responsible.”).



                                                       -5-
